Case 19-60010-rlj7 Doc 13 Filed 03/21/19 Entered 03/21/19 16:26:30 Page 1of4

 

our case:

Fill in this informaton to identi
I

‘Debtor 1 Enrique Rios Perez, Sr. | _
| Debtor 2 Kathryn Clark Perez

 

i (Spouse, d filing)

| United States Bankruptcy Court forthe: NORTHERN DISTRICT OF TEXAS

Check if this is:

® An amended filing

O) A supplement showing postpetition chapter
13 income as of the following date:

‘Case number 19-60010

iP hroantt

 

Official Form 1061

Schedule |: Your Income 1215
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment
information.

MM /DD/ YYYY

 

Debtor 1 Debtor 2 or non-filing spouse

 

If you have more than one job,
attach a separate page with
information about additional
employers.

Include part-time, seasonal, or
self-employed work.

Occupation may include student

Employment status

Occupation
Employer's name

Employer's address

OC Employed
@ Not employed

Part Time Truck Driver

i Employed
C1 Not employed

Remote Data Entry

ReafPage Vendor Compliance LLC

2201 Lakeside Bivd

or homemaker, if it applies. Richardson, TX 75082

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
List monthly gross wages, salary, and commissions (before all payroll
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 = $ 0.00 § 2,040.00
3. Estimate and list monthly overtime pay. 3. +§ 0.00 = 0.00
4 Calculate gross Income. Add line 2 + line 3. 41 $ 0.00 S$ 2,040.00 |

 

 

 

 

Official Form 1061 Schedule : Your Income Page |
Debtor 1

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Enrique Rios Perez, Sr.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Kathryn Clark Perez Case number (known) _19-60070
For Debtor 1 For Debtor 2 or
non-filing spouse
Copyline4here ttt, & § 0.00 =§$ 2,040.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. §$ 0.00 «6§$ 327.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 =6$ 0.00
5c. Voluntary contributions for retirement plans 5c. $ 0.00 «6§$ 0.00
5d. Required repayments of retirement fund loans Sd. $ 0.00 6S 0.00
5e. Insurance Se. §$ 0.00 )6=6$ 0.00
5f. Domestic support obligations St =6$ 0.00 «63 0.00
59. Union dues 5g. $ 0.00 6S 0.00
5h. Other deductions. Specify: She S$ 0.00 + $ 0.00
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6 §$ 0.00 6$ 327.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. on) 0.00 =6S 1,713.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 «6$ 0.00
8b. Interest and dividends 8b. $ 0.00 6 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support. maintenance, divorce
settlement, and property settlement. 8c. § 0.00 =€6S 0.00
8d. Unemployment compensation 8d. $ 0.00 6S 0.00
8e. Social Security 8e. $ 2,215.50 §$ 1,184.00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf 6S 0.00 =6§ 0.00
8g. Pension or retirement income 89. $ 0.00 S$ 0.00
8h. Other monthly income. Specify: 8h.+ S$ 0.00 + $ 0.00
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 2,215.50| |S 1,184.00
10. Catculate monthly income. Add line 7 + line 9. 10./$ 2,215.50 | +|S 2,897.00 | ='S 5,112.50
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. 4S 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies S$ 5,112.50
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
a No.
Ol sYes. Expiain: | |
Official Form 1061 Schedule I: Your Income page 2
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Fill in this information to identify your case:
j Debtor 1 Enrique Rios Perez, Sr. Check if this is:
mm Anamended filing
Debtor 2 Kathryn Clark Perez  Asupplement showing postpetition chapter
(Spouse. if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the. NORTHERN DISTRICT OF TEXAS MM /D0/YYYY
“Case number 1719-60010
| (IE known) ;

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married peopte are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

D No. Go ta line 2.
@ Yes. Does Debtor 2 live ina separate household?
HNo
CD Yes. Debtor 2 must file Official Form 106J-2. Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? § No

 

 

 

 

 

Do not list Debtor 1 and O yes. Fill out this information for Dependent’s relationship to Dependent's Does dependent
Cebtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
EE Eee

Do not state the O No
dependents names. O Yes

OONo

D Yes

OO No

0 Yes

DNo

D Yes

3. Do your expenses include HNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplementa! Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your income

       

 

 

 

 

 

(Official Form 1061.) Your expenses
COI ET

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. .§ 637.83
If not included in line 4:
4a. Real estate taxes 4a. $ 291.33
4b. Property, homeowner's, or renter’s insurance 4b. $ 150.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 125.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

5. Additional mortgage payments for your residence, such as home equity loans 5. $ 328.50

 

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Enrique Rios Perez, Sr.

Debtor2 Kathryn Clark Perez

6.

on

10.
. Medical and dental expenses
12.

13.
14.
15.

16.

17.

18.

19.

20.

21.
22.

23.

24.

 

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services

 

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance
16d. Other insurance. Specify

 

Specify:

instaliment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

17d. Other. Specify:

 

 

 

Specify:

 

20a. Mortgages on other property
20b. Real estate taxes

Other: Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

Case number (if known) _19-60010
6a. $ 400.00
6b. $ 80.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 317.00
_ _ 64 $0.00
78 950.00.
8S 0.00
9. $ 125.00
10. $ 160.00
11. $ 250.00
Transportation. Include gas, maintenance, bus or train fare. 2s 600.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 75.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.60
15b. § 384.00
15c. $ 150.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. § 0.00
17b. $ 0.00
17 S$ : 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule J, Your Income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ _ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $)ti—<‘it~its 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +8 0.00
| $ §,023.66
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 on)
22c. Add line 22a and 22b. The result is your monthly expenses. | $ 5,023.66
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $ 5,112.50
23b. Copy your monthly expenses from line 22c above. 23b -S 5,023.66
23c. Subtract your monthly expenses from your monthly income. 23. |$ 88.84

The result is your monthly net income.

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampte, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

No.

 

O ves. [Explain here: —~

Crug RY. 3-4

cOugye ek bor, - 3-21-19

Official Form 106J Schedule J: Your Expenses

page 2
